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                                                                                         E-FILED
                                                         Thursday, 14 January, 2021 09:01:42 AM
                                                                    Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
      CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

LAURA BLIVEN,                          )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )    Case No. 20-cv-3144
                                       )
ANDREW SAUL, Commissioner              )
of Social Security,                    )
                                       )
            Defendant.                 )

                                     OPINION

TOM SCHANZLE-HASKINS, U.S. MAGISTRATE JUDGE:

      This matter comes before the Court on the Joint Motion for Remand

(d/e 16) (Motion). The parties consented to proceed before this Court.

Consent to the Exercise of Jurisdiction by a United States Magistrate Judge

and Reference Order entered January 8, 2021 (d/e 15). After careful

review, the Court will allow the Motion.

      THEREFORE, IT IS ORDERED that the Joint Motion for Remand

(d/e 16) is ALLOWED. The decision of the Defendant Commissioner is

REVERSED and REMANDED pursuant to 42 U.S.C. § 405(g) sentence

four. On remand, the Appeals Council will remand the matter to an

Administrative Law Judge (ALJ). The ALJ will then otherwise develop the

administrative record as necessary to determine whether Plaintiff is

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disabled within the meaning of the Social Security Act, and then issue a

new decision. In so doing, the ALJ will evaluate Plaintiff’s RFC, with citation

to the medical evidence that supports each limitation assessed; evaluate

the record medical opinions; evaluate Plaintiff’s subjective statements

under SSR 16-3p; obtain additional vocational evidence if warranted; and

issue a new decision. All pending motions are DENIED as moot. This

CASE IS CLOSED before this Court.

ENTER: January 13, 2021

                            s/ Tom Schanzle-Haskins
                            TOM SCHANZLE-HASKINS
                        UNITED STATES MAGISTRATE JUDGE




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